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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION


   BRENDAN HANEY, GERALD REED,
   and TROY SMITH, individually and on         Case No.: 3:18-cv-1011-TJC-LLL
   behalf of all others similarly situated,

                            Plaintiffs,

                   v.

   COSTA DEL MAR, INC., a Florida
   Corporation

                           Defendant.
   _______________________________________

      DECLARATION OF ERIC ALAN ISAACSON IN SUPPORT OF
       JOHN W. DAVIS’S TIME SENSITIVE MOTION TO APPEAR
           TELEPHONICALLY AT MAY 2, 2022 HEARING
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  I, Eric Alan Isaacson, hereby declare as follows:

          1.   I am counsel of record for class member and objector John W.

  Davis.

          2.   I am a member of the California bar, licensed to practice law

  before all courts in the State of California, and am admitted to practice pro

  hac vice in this case.

          3.   I am over the age of 21, of sound mind, and fully competent to

  make this Declaration. I have personal knowledge of the facts stated herein,

  and if called as a witness could and would testify competently to them.

          3.   In addition to being counsel for John W. Davis in this case, I am

  counsel of record for the appellant in Murray v. Grocery Delivery E-Services

  USA Inc., dba HelloFresh, No. 21-1931, which is calendared for oral

  argument before the United States Court of Appeals for the First Circuit in

  Boston, Massachusetts, on the morning of March 3, 2022. I have been told

  that I must be in court by 8:45 a.m. that morning.

          4.   I do not believe that I can adequately prepare for and attend both

  a hearing in the Middle District of Florida on the afternoon of May 2, 2022,

  and the First Circuit oral argument in Boston the next morning, on May 3,

  2022.




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        5.    Travel logistics between Jacksonville, Florida and Boston,

  Massachusetts, and my recent experience with cancelled flights and missed

  connections, leaves me doubtful that I will even be able to make it to Boston

  in time for the May 3, 2022, hearing if I must attend the hearing on the

  afternoon of May 2, 2022, at Jacksonville in person.

        6.    Assuming I am able to catch an evening flight from Jacksonville

  to Boston, moreover, I am likely to arrive at my apartment in Cambridge

  after midnight, making it impossible for me to be well-rested before my May

  3, 2022, argument before the First Circuit.

        7.    In addition to my professional responsibilities, I also have to deal

  with a full academic load as I endeavor to complete my graduate studies at

  the Harvard Divinity School in order to graduate with a Master of Religion

  and Public Life (MRPL) as scheduled in May 2022.

        8.    Among other things, I have a MRPL final project that is due

  April 27, 2022, with an oral examination by Harvard Divinity School

  Professors Ann D. Braude and David F. Holland and Harvard Law School

  Lecturer Lael Weinberger scheduled for May 6, 2022, and a public

  presentation for May 12, 2022.

        9.    I also have three final papers due May 2, 2022, and an eight-hour

  take-home exam, for a Harvard Law School course in which I am cross-

  registered, that must be completed on a date between April 27, 2022, when


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  my final MRPL project is due, and May 6, 2022, when I must sit for my

  MRPL oral examination.

         10.       My co-counsel in representing   Davis before this Court, C.

  Benjamin Nutley, has relocated from the continental          United States, and

  currently    resides in Hawai'i.

         11.       This Court has previously permitted     me to appear telephonically

  in this matter, for the April 20, 2021, hearing on the final-approval         motion.

  See DE150 (ENDORSED            ORDER granting     Objector John W. Davis's motion

  for Eric Alan Isaacson to appear telephonically        at the 4/20/2021 fairness

  hearing).

         12.       Finally, I note that Mr. Davis filed his opposition to the bond

  motion jointly with another objector-appellant,        Mitchell George Miorelli, who

  is represented     in this case by Sam A. Miorelli. See DE199, n.l. Therefore, if

  the Court is disinclined to accept remote argument         from Mr. Davis's counsel,

  Mr. Davis requests that his counsel be excused from attendance             and that Mr.

  Sam A. Miorelli be permitted       to present argument    on his behalf.

        Pursuant       to 28 U.S.C. §1746, I declare under penalty of perjury that

  the foregoing is true and correct.

  Dated this 18th day of April, 2022.




                                                         Eric Alan Isaacson


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